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              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 IN RE:                        :
                               :    CHAPTER 7
 ARC MANAGEMENT GROUP, LLC, :
                               :    Case No. 23-61742 - BEM
          Debtor.              :

                                  CERTIFICATE OF SERVICE

         This is to certify that on July 2, 2025, I caused a true and correct copy of the ORDER (A)
 AUTHORIZING AND SCHEDULING AN AUCTION AT WHICH THE TRUSTEE WILL
 SOLICIT THE HIGHEST OR BEST BID FOR THE SALE OF ASSETS; AND (B) APPROVING
 BID PROCEDURES GOVERNING THE PROPOSED SALE INCLUDING PAYMENT OF
 EXPENSE REIMBURSEMENT AND BREAKUP FEE attached hereto as Exhibit “A” [Doc. No.
 292] to be served as set forth in Exhibit “B” hereto.

         This is to further certify that on July 3, 2025, I caused a true and correct copy of the ORDER
 (A) AUTHORIZING AND SCHEDULING AN AUCTION AT WHICH THE TRUSTEE WILL
 SOLICIT THE HIGHEST OR BEST BID FOR THE SALE OF ASSETS; AND (B) APPROVING
 BID PROCEDURES GOVERNING THE PROPOSED SALE INCLUDING PAYMENT OF
 EXPENSE REIMBURSEMENT AND BREAKUP FEE attached hereto as Exhibit “A” [Doc. No.
 292] to be served as set forth in Exhibit “C” hereto.

        This 3rd day of July, 2025.
                                        LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                        /s/ Henry F. Sewell, Jr.
                                        Henry F. Sewell, Jr.
                                        Georgia Bar No. 636265
                                        Buckhead Centre
                                        2964 Peachtree Road NW, Suite 555
                                        Atlanta, GA 30305
                                        (404) 926-0053
                                        hsewell@sewellfirm.com
                                        Counsel for S. Gregory Hays, as Trustee for the bankruptcy
                                        estate of ARC Management Group, LLC, Debtor
Case 23-61742-bem           Doc 292    Filed 07/02/25 Entered 07/02/25 10:33:02             Desc Main      Case 23-61742-bem          Doc 292      Filed 07/02/25 Entered 07/02/25 10:33:02                  Desc Main
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                                                                                                            H$0660;I3<?A52/.;8?B=A0F2@A.A2A52H<=,=0I<3'".;.42:2;A?<B=!!2/A<?A52

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      IT IS ORDERED as set forth below:
                                                                                                            6 .;<?12?.==?<C6;4.@.92.;1/6116;4=?<02@@A</2B@216;0<;;20A6<;D6A5A52=?<=<@21@.92

                                                                                                            <302?A.6;612;A63621.@@2A@A52H/08=4140/<<0=<I.;166 .;<?12?.==?<C6;4A52@.92/FA52
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      Date: July 2, 2025                                                                                    (2992? <3 A52 12;A63621 @@2A@ A< "2160.9 2/A '2@<9BA6<; ;0 1/. *;1B2 "2160.9 2/A
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                                                                        Barbara Ellis-Monro
                                                                   U.S. Bankruptcy Court Judge
                                                                                                            12;A63621@@2A@6;0<;;20A6<;D6A5A52@.92.;1/6116;4=?<02@@A.==2.?6;4A5.AA52.==?<C.9
     ________________________________________________________________
                                                                                                                                                                                                                                            Doc 293




                                                                                                            <3A52/61=?<021B?2@0<9920A6C29FA52H4/!;9.0/>;0<I.@?2>B2@A216;A52"<A6<;6@6;A52/2@A

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                                                                                                                                                                                                                          Exhibit




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                         %%'$ 
                                                                                                                                                                                                                           Document A




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     .=6A.96G21A2?:@;<A1236;2152?26;@5.995.C2A52:2.;6;4@.@0?6/21A<@B05A2?:@6;A52"<A6<;

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              )52 "<A6<; 6@ 4?.;A21 A< A52 2EA2;A @2A 3<?A5 6; A56@ $?12? )52 3<99<D6;4 H4/                           <3 A52 *( )?B@A22   '605.?1 'B@@299 914  7HG 7XUQHU 'U
                                                                                                                                         (,A9.;A.2<?46.         6;2.050.@2@<.@A</2?2026C21;<A9.A2?
 !;9.0/>;0<I.?252?2/F.==?<C21 .;1@5.99/2B@216;0<;;20A6<;D6A5A52=?<=<@21@.92<3A52                                         A5.;A52$C2?/612.196;2

 12;A63621@@2A@                                                                                                         / B0A6<;;A522C2;AA52)?B@A22A6:29F?2026C2@.0<;3<?:6;4;6A6.9$C2?/61
                                                                                                                                3?<:.=?<@=20A6C2=B?05.@2?.@12@0?6/21./<C2.H">,64140/4//0;IA52;
                . ;6A6.9$C2?/61;FA56?1=.?AF<A52?A5.;*;1B2A5.A6@6;A2?2@A216;.0>B6?6;4                          A52)?B@A22D6990<;1B0A.;B0A6<;D6A5?2@=20AA<A52@.92<3A5212;A63621
                                                                                                                                                                                                                                                Case 23-61742-bem




                   A5212;A63621@@2A@:B@A@B/:6A.;H;6A6.9$C2?/61I6;0<;3<?:.;02D6A5A52                               @@2A@<;>6B   -02488482,=,769.,6=470,==309114.0<91
                   61%?<021B?2@/F;<A9.A2?A5.; =:9<0.9A6:26;A9.;A.2<?46.<;                                  .9>8<06 19; =30 %;><=00 ,@ 114.0< 91 08;B  $0@066 ; 
                    B9F       A52H ?0;-4/0,/6480I;F@B05;6A6.9$C2?/61:B@A                                    >.530,/08=;0  !0,.3=;00#9,/($>4=0 =6,8=,  
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                            0<=F<3A52@64;21.4?22:2;AA5.A6@:.?821A<@5<D05.;42@3?<:A52                                /FA52)?B@A22;<?12?A<=.?A606=.A26;A52B0A6<;2.05=?<@=20A6C2=B?05.@2?
                            (.92 4?22:2;A D6A5 *;1B2 D6A5 .A . :6;6:B: A52 3<99<D6;4                               @5.99/2?2>B6?21A<0<:=9FD6A5A52?2>B6?2:2;A@<3A5261%?<021B?2@.;1A<
                            ?2>B6?2:2;A@ 5.C6;4@B/@A.;A6.99F612;A60.9A2?:@.;10<;16A6<;@.@                            @B/:6A.;;6A6.9$C2?/61A5.A6@A6:29F.;1A5.A0<:=962@6;.99?2@=20A@D6A5A52
                                                                                                                                                                                                                                                Doc 293




                            A52 (.92 4?22:2;A D6A5 *;1B2 2E02=A D6A5 56452? .;1 /2AA2?                               61%?<021B?2@$?12?AA52B0A6<;&B.9636216112?@.;1*;1B26A/26;4
                            0<;@612?.A6<;   0<;A.6;6;4 A2?:@ .;1 0<;16A6<;@ <A52?D6@2 ;< 92@@                        B;12?@A<<1A5.A*;1B2@5.99/2122:21A</2.&B.9636216112?:.F@B/:6A
                            3.C<?./92 A< A52 @A.A2 A5.; A52 A2?:@ .;1 0<;16A6<;@ 6; A52 (.92                        @B002@@6C2/61@6;0.@56;0?2:2;A@<3.A92.@A$;2B;1?21)5<B@.;1<99.?@
                            4?22:2;A =?<C6121 A5.A ;< ;6A6.9 $C2?/61 @5.99 =?<C612 3<? A52                            4?2.A2?A5.;A52=?6<?/613<?A52=B?05.@2<3A5212;A63621@@2A@B;A69
                            =.F:2;A A< A52 <C2?/6112? <3 .;F /?2.8B= 322 A<==6;4 322 2E=2;@2                        A52?26@<;9F<;2<332?A5.AA52)?B@A2212A2?:6;26;A522E2?06@2<3A526?@<92
                            ?26:/B?@2:2;A <? <A52? @6:69.? .??.;42:2;A   =?<C612 3<?                                 16@0?2A6<; @B/720A A< <B?A .==?<C.9 6@ A52 56452@A <? /2@A <332? 3<? A52
                            0<;@612?.A6<;A<A52)?B@A226;.;.:<B;A2>B.9A<<?4?2.A2?A5.;A52                              12;A63621@@2A@A52H!;0?,464824/C,52;/6116;4.AA52B0A6<;*;1B2
                                                                                                                                                                                                                           Document




                            @B: <3 . A52 0<;@612?.A6<; =.F./92 /F *;1B2 B;12? A52 (.92                              @5.99?2026C2.0.@5H0?216AI6;.;.:<B;A2>B.9A<A52@B:<3A52:.E6:B:
                            4?22:2;A=9B@/.;.116A6<;.9.:<B;A<3  6;0.@5;<A                                 E=2;@2'26:/B?@2:2;A=9B@A52?2.8B=2299/6116;43<?A5212;A63621
                            /2@B/720AA<.;F.36;.;06;40<;A6;42;0F/0<;A6;42;0F?29.A6;4A<                            @@2A@D699/20<;09B121.AA52B0A6<;.;1A52?2D699/2;<3B?A52?/6116;4.A
                            A520<:=92A6<;<3B;=2?3<?:211B2169642;0200<;A6;42;0F?29.A6;4                               A52(.922.?6;43;<0<;3<?:6;4;6A6.9$C2?/613?<:.&B.9636216112?@5.99
                            A<A52.==?<C.9<3A52<C2?/6112?J@/<.?1<316?20A<?@<?<A52?6;A2?;.9                            5.C2/22;?2026C21.A<?=?6<?A<A52$C2?/612.196;2A52B0A6<;D699;<A/2
                            .==?<C.9@ <? 0<;@2;A@ <? 1 .;F 0<;16A6<;@ =?20212;A A< A52                              5291*;1B2@5.99/212@64;.A21.@A5256452@A.;1/2@A/61.;1A52(.922.?6;4
                            <C2?/6112?J@ </964.A6<; A< =B?05.@2 A52 12;A63621 @@2A@ <A52? A5.;                        D699=?<0221D6A5?2@=20AA<A52(.924?22:2;AD6A5*;1B2<;.;2E=216A21
                            A5<@26;09B1216;A52(.924?22:2;AD6A5*;1B2.;1=?<C612A5.A                               /.@6@;12A2?:6;6;4A52%?2C.696;4610<;@612?.A6<;D699/246C2;A<.:<;4
                            A52<C2?/6112?@5.99=B?05.@2.99<3A5212;A63621@@2A@                                         <A52? A56;4@ 6 A52 ;B:/2? AF=2 .;1 ;.AB?2 <3 .;F 05.;42@ A< A52 (.92
                        66 ;09B12 . 0.@562?@J <? 02?A63621 05208 .@ . 12=<@6A 6; A52 .44?24.A2                     4?22:2;AD6A5*;1B2?2>B2@A21/F2.05/6112?66A522EA2;AA<D5605@B05
                                                                                                                                                                                                                                        Page 3 of 22




                            .:<B;A<3   =.F./92A<.;6;12=2;12;A2@0?<D.42;AA</2                                      :<16360.A6<;@.?296829FA<129.F09<@6;4<3A52@.92<3A5212;A63621@@2A@.;1
                            12@64;.A21/FA52(2992?6A/26;4B;12?@A<<1A5.A12=<@6A@:.F.9@</2                             A520<@AA<A52)?B@A22<3@B05:<16360.A6<;@<?129.F666A52A<A.90<;@612?.A6<;
                            @2;A/FD6?2A?.;@32?<36::216.A29F.C.69./923B;1@                                              A</2?2026C21/FA52(2992?6CA529682965<<1<3A52/6112?J@./696AFA<09<@2.
                      666 )<A522EA2;A;<A=?2C6<B@9F=?<C6121A<A52)?B@A22/2.00<:=.;621                                 A?.;@.0A6<;.;1A52A6:6;4A52?2<3CA52;2A/2;236AA<A52@A.A2.;1C6A52
                            /F2C612;02@.A6@3.0A<?FA<A52)?B@A22A5.AA52%B?05.@2?0.;0<:=92A2                             .:<B;A <3 A52 /6112?J@ 2E=2?62;02 .0>B6?6;4 <D;6;4 ?25./696A.A6;4 .;1
                            A52A?.;@.0A6<;                                                                                    :.;.46;4=?<720A@A5.A.?2@B/@A.;A6.99F@6:69.?A<A52%<?A3<96<@AA52B0A6<;
                       6C '2:.6; <=2; .;1 6??2C<0./92 B;A69 <;2 5B;1?21   1.F@ .3A2? A52                           *;1B2@5.995.C2A52?645AA<6@B/:6A3B?A52?/61@.9<;4D6A5.:.?8B=<3A52
                            2;A?F <3 .; <?12? /F A52 <B?A .==?<C6;4 . 1236;6A6C2 .4?22:2;A                           (.92 4?22:2;A D6A5 *;1B2 .;1 66 .A .;F A6:2 ?2>B2@A A5.A A52 )?B@A22
                            =?<C616;43<?A52@.92<3A5212;A63621@@2A@.;1                                                .;;<B;02@B/720AA<.;F=<A2;A6.9;2D/61@A52A52;0B??2;A%?2C.696;461.;1
                        C 2 @B/:6AA21 A<   0<B;@29 A< A52 )?B@A22 !.D $33602@ <3 2;?F                       A< A52 2EA2;A *;1B2 ?2>B2@A@ B@2 ?2.@<;./92 233<?A@ A< 09.?63F .;F .;1 .99
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                             A9.;A.             AA; 2;?F  (2D299 ? @>                             0B??2;A %?2C.696;461 $;9FA52 =2?@<;@ D5< @B/:6AA21 ;6A6.9 $C2?/61@ .;1
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            F (.922.?6;4%30$,600,;482@466-0.98/>.=0/98>6B  ,=                                    $/720A6<;@ 63 .;F A< .==?<C.9 <3 .;F %?2C.696;4 61 <? A< .==?<C.9 <3 .;F
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               )?B@A226;A2;1@A<=?2@2;AA52%?2C.696;4613<?.==?<C.9/FA52<B?A
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               12;A63621@@2A@.;1D5605/61@5<B91/2@2920A21.@A52%?2C.696;46163.;F            '605.?1 'B@@299 914  7HG 7XUQHU 'U (, A9.;A. 2<?46.                  .0@6:692  
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                 / <3 A52 .;8?B=A0F <12 ,6A5<BA 96:6A6;4 A52 42;2?.96AF <3 A52                    ;F </720A6<; ;<A 36921 .;1 @2?C21 6; .00<?1.;02 D6A5 A56@ =.?.4?.=5  @5.99 /2
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               3<?24<6;4A52)?B@A22:.F.A.;FA6:2/23<?22;A?F<3.;<?12?<3A52<B?A
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               <12<?A5261%?<021B?2@6663?<:./6112?A5.A1<2@;<A5.C2@B/@A.;A6.9
               2E=2?62;02 .0>B6?6;4 <D;6;4 ?25./696A.A6;4 .;1 :.;.46;4 =?<720A@ A5.A .?2
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                2.?6;4A52)?B@A22D699/2.BA5<?6G21.;116?20A21A<A.82.990<::2?06.99F
                ?2.@<;./92.;1 ;202@@.?F@A2=@ A< 0<:=92A2 .;1 6:=92:2;A A52 A?.;@.0A6<;@
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                )523.69B?2<3.;FA56?1=.?AFA<3692.;1@2?C2.;</720A6<;.@<?12?21.;116?20A21                            )5261%?<021B?2@6;09B16;4A52?2.8B=22.;1E=2;@2'26:/B?@2:2;A.?2

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 .=.FA<*;1B2.;.4?221B=<;H?2.8B=22I6;.;.:<B;A2>B.9A<                       A52H;0,5>:         A52@<B;1/B@6;2@@7B14:2;A<3A52)?B@A22.;1D6993.0696A.A2.;<?12?9F@.92=?<02@@

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 .;1 2E=2;@2@ 6;09B16;4 924.9 .00<B;A6;4 2@0?<D .;1 <A52? 322@ .;1 2E=2;@2@ 6;0B??21 6;               A52"<A6<;.;1A<3692.2?A6360.A2<3(2?C6022C612;06;4@B05@2?C602D6A56;A5?22 1.F@<3
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 A?2.A21.@.99<D21.1:6;6@A?.A6C22E=2;@209.6:@6;A52.@2A</2=.61<BA<3A52@.92=?<0221@.A

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  %2.05A?22'<.1#,(B6A2
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                                                Document     Page 7 of 22

 2

 3

 4                                    UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF GEORGIA
 5                                            ATLANTA DIVISION
      IN RE:                                                       CASE NO: 23-61742
 6
       ARC MANAGEMENT GROUP, LLC,                                  DECLARATION OF MAILING
 7                                                                 CERTIFICATE OF SERVICE
                                                                   Chapter: 7
 8                                                                 ECF Docket Reference No. 292
                                                                   Judge: Honorable Barbara Ellis-Monro
 9                                                                 Hearing Location: Courtroom 1402, United States Courthouse, 75
                                                                   Ted Turner Drive, SW, Atlanta, Georgia 30303
                                                                   Hearing Date: July 17, 2025
10
                                                                   Hearing Time: 11:00 a.m.
                                                                   Response Date: July 16, 2025
11   On 7/2/2025, I did cause a copy of the following documents, described below,
     ORDER (A) AUTHORIZING AND SCHEDULING AN AUCTION AT WHICH THE TRUSTEE WILL SOLICIT THE
12   HIGHEST OR BEST BID FOR THE SALE OF ASSETS; AND (B) APPROVING BID PROCEDURES GOVERNING THE
     PROPOSED SALE INCLUDING PAYMENT OF EXPENSE REIMBURSEMENT AND BREAKUP FEE ECF Docket
13   Reference No. 292

14

15

16

17

18

19

20   to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
     sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
21   incorporated as if fully set forth herein.
     I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
22   com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
     Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
23   fully set forth herein.
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
24
     served electronically with the documents described herein per the ECF/PACER system.
25   DATED: 7/2/2025
                                                      /s/ Henry F. Sewell, Jr.
26                                                    Henry F. Sewell, Jr. 636265

27                                                    LAW OFFICES OF HENRY F. SEWELL JR., LLC
                                                      2964 Peachtree Rd NW, Ste 555
28                                                    Atlanta, GA 30305
                                                      404 926 0053
                                                      hsewell@sewellfirm.com
          Case 23-61742-bem                Doc 293      Filed 07/03/25 Entered 07/03/25 19:02:55                           Desc Main
 1                                                     Document     Page 8 of 22

 2

 3
                                       UNITED STATES BANKRUPTCY COURT
 4                                      NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION
 5
        IN RE:                                                           CASE NO: 23-61742
 6
        ARC MANAGEMENT GROUP, LLC,                                       CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
 7
                                                                   Chapter: 7
 8                                                                 ECF Docket Reference No. 292
                                                                   Judge: Honorable Barbara Ellis-Monro
 9                                                                 Hearing Location: Courtroom 1402, United States Courthouse,
                                                                   75 Ted Turner Drive, SW, Atlanta, Georgia 30303
                                                                   Hearing Date: July 17, 2025
10
                                                                   Hearing Time: 11:00 a.m.
                                                                   Response Date: July 16, 2025
11   On 7/2/2025, a copy of the following documents, described below,

     ORDER (A) AUTHORIZING AND SCHEDULING AN AUCTION AT WHICH THE TRUSTEE WILL SOLICIT THE
12   HIGHEST OR BEST BID FOR THE SALE OF ASSETS; AND (B) APPROVING BID PROCEDURES GOVERNING THE
     PROPOSED SALE INCLUDING PAYMENT OF EXPENSE REIMBURSEMENT AND BREAKUP FEE ECF Docket
13   Reference No. 292

14

15

16

17

18

19

20
     were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
21   postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
     herein.
22   The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
     referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
23   Service and that it is true and correct to the best of my knowledge, information, and belief.

24   DATED: 7/2/2025


25
                                                                  Miles Wood
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                Henry F. Sewell, Jr.
                                                                  LAW OFFICES OF HENRY F. SEWELL JR., LLC
28                                                                2964 Peachtree Rd NW, Ste 555
                                                                  Atlanta, GA 30305
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CASE INFO
1LABEL MATRIX FOR LOCAL NOTICING         ABI HOLDING LLC                         AMERICAN RED CROSS
113E1                                    12655 OLD SURREY PLACE                  HEALTH SAFETY SERVICES
CASE 23-61742-BEM                        ROSWELL GA 30075-1067                   25688 NETWORK PLACE
NORTHERN DISTRICT OF GEORGIA                                                     CHICAGO IL 60673-1256
ATLANTA
WED JUL 2 14-03-00 EDT 2025




APPLESEEDS BEHAVIORAL CENTER             AR ASSISTHMA GREENFISH                  ARC MANAGEMENT GROUP OF GEORGIA LLC
2010 MOON STATION DRIVE NW               1207 SOUTH TAMIAMI TRAIL                12655 OLD SURREY PLACE
KENNESAW GA 30114                        SARASOTA FL 34239-2208                  ROSWELL GA 30075-1067




DEBTOR
ARC MANAGEMENT GROUP LLC                 ATT                                     AUTO INNOVATIONS INC
1825 BARRETT LAKES BLVD NW               PO BOX 6416                             2082 CANTON RD
SUITE 505                                CAROL STREAM IL 60197-6416              MARIETTA GA 30066
KENNESAW GA 30144-7570




ADVENTUS AOF 1 LP                        AMERICAN EXPRESS                        AMERICAN EXPRESS NATIONAL BANK
PO BOX 936596                            PO BOX 60189                            CO BECKET AND LEE LLP
ATLANTA GA 31193-6596                    CITY OF INDUSTRY CA 91716-0189          PO BOX 3001
                                                                                 MALVERN PA 19355-0701




BRIDGES PALLIATIVE CARE                  BYTEDANCE DBA TIKTOK GLOBAL             MAXWELL WILLIAM BOWEN
401 HORSHAM RD SUITE 202                 5800 BRISTOL PARKWAY                    ROBL LAW GROUP
HORSHAM PA 19044-2013                    CULVER CITY CA 90230-6696               SUITE 250
                                                                                 3754 LAVISTA ROAD
                                                                                 TUCKER GA 30084-5623




CARMONA PATHOLOGY ASSOCIATES PA          CENTERWELL HOME HEALTH HCHB             CIRCLE INDUSTRIAL LLC
951 N WASHINGTON AVE                     6330 SPRINT PARKWAY                     1230 ROSENCRANS AVE SUITE 270
TITUSVILLE FL 32796-2163                 OVERLAND PARK KS 66211-1171             MANHATTAN BEACH CA 90266-2472




CITY OF INDEPENDENCE IA                  CITY OF MARSHALLTOWN IA                 CITY OF NORTH CHICAGO
ATTN SUSI LAMP                           ATTENTION AR                            ATTN COMPTROLLER OFFICE
331 1ST STREET E                         24 N CENTER STREET                      1850 LEWIS AVE
INDEPENDENCE IA 50644-2814               MARSHALLTOWN IA 50158-4911              NORTH CHICAGO IL 60064-2098




COLLECTION PROFESSIONALS INC             COLUMBIA CARE NY LLC                    CT CORPORATION SYSTEM AS REPRESENTATIVE
LINK DEBT RECOVERY                       680 FIFTH AVE 24TH FLOOR                330 N BRAND BLVD SUITE 700
PO BOX 2088                              NEW YORK NY 10019-5429                  ATTN- SPRS
SHERIDAN WY 82801-2088                                                           GLENDALE CA 91203-2336




CARR RIGGS INGRAM                        CHARLES H MOUSSEAU JR                   CHARLES H MOUSSEAU JR
4004 SUMMIT BLVD NE STE 800              CO NATHAN C VOLHEIM                     ERIC DONALD COLEMAN
ATLANTA GA 30319-1585                    ATLAS CONSUMER LAW                      SULAIMAN LAW GROUP LTD
                                         2500 S HIGHLAND AVENUE SITE 200         2500 SOUTH HIGHLAND AVE STE 200
                                         LOMBARD IL 60148-7103                   LOMBARD IL 60148-7103
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CHEETAH CAPITAL                          CHEETAH CAPITAL INC                      JEFFREY CIANCIULLI
667 MADISON AVENUE                       1688 MERIDIAN AVE SUITE 200              1339 CHESTNUT STREET
5TH FLOOR                                MIAMI BEACH FL 33139-2717                SUITE 500
NEW YORK NY 10065-8029                                                            PHILADELPHIA PA 19107-3503




COLLECTORS INS AGENCY INC                COLLIN DIXON PA                          COMCAST
3200 COURTHOUSE LN                       15325 SW 89TH AVE                        PO BOX 71211
SAINT PAUL MN 55121-1585                 MIAMI FL 33157-1902                      CHARLOTTE NC 28272-1211




CORPORATE RESOLUTIONS LLC                ELITE BUSINESS SERVICES GROUP INC        ERIN MCCAIN
12655 OLD SURREY PLACE                   15325 SW 89TH AVE                        9002 NEWBURGH DRIVE
ROSWELL GA 30075-1067                    MIAMI FL 33157-1902                      HOUSTON TX 77095-3733




EQUIFAX                                  FAST LENDING                             FUSION SLEEP LLC
PO BOX 4081                              1290 EAST ARLINGTON BLVD STE 200         4265 JOHNS CREEK PKWY STE A
ATLANTA GA 30302-4081                    GREENVILLE NC 27858-7854                 SUWANEE GA 30024-6038




FLOCK FINANCIAL LLC                      FLOCK FINANCIAL LLC                      FUNDING CLUB
400 GALLERIA PARKWAY SE                  CO GREG TAUBE NELSON MULLINS LLP         915 MIDDLE RIVER DRIVE
STE 17                                   SUITE 1700                               FORT LAUDERDALE FL 33304-3544
ATLANTA GA 30339-5980                    201 17TH STREET NW
                                         ATLANTA GA 30363-1099




GILBRIDE TUSA LAST SPELLANE LLC          WILL B GEER                              GEORGIA DEPARTMENT OF LABOR
986 BEDFORD STREET                       ROUNTREE LEITMAN KLEIN GEER LLC          148 ANDREW YOUNG INTER BLVD
STAMFORD CT 06905-5610                   CENTURY PLAZA I                          ROOM 738
                                         2987 CLAIRMONT ROAD SUITE 350            ATLANTA GA 30303-1733
                                         ATLANTA GA 30329-4435




GEORGIA DEPARTMENT OF REVENUE            GEORGIA DEPT OF LABOR                    GEORGIA DEPT OF LABOR
BANKRUPTCY                               SUITE 826                                SUITE 910
2595 CENTURY PKWY NE SUITE 339           148 ANDREW YOUNG INTER BLVD NE           148 ANDREW YOUNG INTER BLVD NE
ATLANTA GA 30345-3173                    ATLANTA GA 30303-1751                    ATLANTA GA 30303-1751




GREEN NOTE CAPITAL PARTNERS SPV LLC      HAPPY HANDYMAN LLC                       JAMES W HAYS
1019 AVENUE P                            4915 N MAIN ST STE 425                   HAYS POTTER LLP
STE 401                                  ACWORTH GA 30101-1302                    SUITE 300
BROOKLYN NY 11223-2366                                                            3945 HOLCOMB BRIDGE RD
                                                                                  PEACHTREE CORNERS GA 30092-5200




S GREGORY HAYS                           HAYS FINANCIAL CONSULTING LLC            HEALTHTECH RECEIVABLES MANAGEMENT INC
HAYS FINANCIAL CONSULTING LLC            2964 PEACHTREE ROAD NW                   12655 OLD SURREY PLACE
SUITE 555                                SUITE 555                                ROSWELL GA 30075-1067
2964 PEACHTREE ROAD                      ATLANTA GA 30305-4909
ATLANTA GA 30305-4909
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ADAM HERRING                             HEWLETTPACKARD FINANCIAL SERVICES        HEWLETTPACKARD FINANCIAL SERVICES
NELSON MULLINS RILEY SCARBOROUGH         PO BOX 402582                            COMPANY
201 17TH STREET NW STE 1700              ATLANTA GA 30384-2584                    DIANE MORGAN
ATLANTA GA 30363-1099                                                             200 CONNELL DRIVE
                                                                                  BERKELEY HEIGHTS NJ 07922-2816




ALAN HINDERLEIDER                        HOSPITAL SERVICES OF BRADFORD PC         HOSPITAL SERVICES OF SPRINGFIELD
OFFICE OF THE UNITED STATES TRUSTEE      PO BOX 641308                            PO BOX 679874
362 RICHARD B RUSSELL FEDERAL BUILDING   PITTSBURGH PA 15264-1308                 DALLAS TX 75267-9874
75 TED TURNER DRIVE SW
ATLANTA GA 30303-3315




HOWSTE TECHNICAL SERVICES                ICP GROUP LLC                            IDI
2440 SANDY PLAINS ROAD                   ATTN PETER PINTO                         PO BOX 744971
BLDG 7                                   10160 ANDOVER COACH CIRCLE               ATLANTA GA 30374-4971
MARIETTA GA 30066-7218                   STE H-1
                                         WELLINGTON FL 33449-8139




INTERNATIONAL EDUCATION CORPORATION      INFOWORKS                                INSPERITY
2NDARY PLACEMENTS                        PO BOX 47                                6 POINTE DRIVE
16485 LAGUNA CANYON RD ST 300            WOODSTOCK GA 30188-0047                  STE 150
IRVINE CA 92618-3840                                                              BREA CA 92821-6324




INTERNAL REVENUE SERVICE                 IRWIN BERNSTEIN CMS SERVICES             JEANINE SCULL
CIO                                      820 DAVIS STREET                         CO SETH J ANDREWS
PO BOX 7346                              SUITE 453                                LAW OFFICES OF KENNETH HILLER
PHILADELPHIA PA 19101-7346               EVANSTON IL 60201-4810                   6000 NORTH BAILEY AVE STE 1A
                                                                                  AMHERST NY 14226-5102




JEFFREY PARRELLA ESQ                     JOHN BEDARD                              KATMAI ONCOLOGY GROUP LLC
AWNR COMMERICAL LAW GROUP                4855 RIVER GREEN PARKWAY                 35851 PIPER STREET SUIT U340
14 WALL STREET 20TH FLOOR                SUITE 310                                ANCHORAGE AK 99508
NEW YORK NY 10005-2123                   DULUTH GA 30096-8337




KEYSTONE MEDICAL BILLING SERVICES        KYF GLOBAL PARTNERS LLC                  KAREN WHITE
10312 BLOOMINGDALE AVE SUITE 108 379     1019 AVE P                               2404 MARCIA DR
RIVERVIEW FL 33578-3603                  BROOKLYN NY 11223-2364                   BELLBROOK OH 45305-1725




KEEP IT SAFE                             KENDRA WATTS                             KEYSTONE MEDICAL SERVICES OF ALABAMA
PO BOX 101672                            CO NAJA I HAWK                           INC
PASADENA CA 91189-0044                   THE HAWK LEGAL COLLECTIVE                PO BOX 676371
                                         730 PEACHTREE STREET NE 570              DALLAS TX 75267-6371
                                         ATLANTA GA 30308-1244




KEYSTONE MEDICAL SERVICES OF GULFPORT    KEYSTONE MEDICAL SERVICES OF MS INC      KEYSTONE MEDICAL SERVICES OF MS INC
INC                                      PO BOX 677675                            PO BOX 677864
PO BOX 677893                            DALLAS TX 75267-7675                     DALLAS TX 75267-7864
DALLAS TX 75267-7893
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KEYSTONE MEDICAL SERVICES OF NEW YORK     KEYSTONE MEDICAL SERVICES OF NIAGRA     KEYSTONE MEDICAL SERVICES OF OLEAN PC
PC                                        FALLS PC                                PO BOX 645571
PO BOX 645400                             PO BOX 645392                           PITTSBURGH PA 15264-5253
PITTSBURGH PA 15264-5251                  PITTSBURGH PA 15264-5251




KEYSTONE MEDICAL SERVICES OF WEST POINT   LIBERTY URGENT CARE                     LINK DEBT RECOVERY
INC                                       401 HORSHAM RD                          PO BOX 709751
PO BOX 677969                             HORSHAM PA 19044-2013                   SANDY UT 84070-9723
DALLAS TX 75267-7969




LATHEM TIME                               LENDSPARK CORPORATION                   LIBERTAS FUNDING LLC
210 THE BLUFFS                            2554 GATEWAY ROAD                       411 WEST PUTNAM ST
STE 107                                   CARLSBAD CA 92009-1742                  SUITE 220
AUSTELL GA 30168-7883                                                             GREENWICH CT 06830-6295




MARIETTA DERMATOLOGY SKIN CANCER          METRO COLLECTION SERVICE                MATTHEW SHAWN SKINNER
CENTER                                    LINK DEBT RECOVERY                      CO FRANK H KERNEY III ESQ
111 MARBLE MILL ROAD NW                   2600 S PARKER RD BLDG 4 STE 340         THE CONSUMER LAWYERS
MARIETTA GA 30060-1047                    AURORA CO 80014-1690                    412 E MADISON ST STE 916
                                                                                  TAMPA FL 33602-4617




MEDICAL SERVICES OF MERIDIAN INC          MEDICAL SERVICES OF MERIDIAN PA         JEFFREY W MELCHER
PO BOX 679807                             PO BOX 677989                           DICKINSON WRIGHT PLLC
DALLAS TX 75267-9807                      DALLAS TX 75267-7989                    424 CHURCH STREET SUITE 800
                                                                                  NASHVILLE TN 37219-2395




MOMENTUM                                  STEPHEN M MONTGOMERY                    EVAN L MOSCOV
1200 CORPORATE DRIVE STE 300              DICKINSON WRIGHT PLLC                   LAW OFFICE OF EVAN MOSCOV
BIRMINGHAM AL 35242-2944                  SUITE 800                               PO BOX 8305
                                          424 CHURCH STREET                       WAUKEGAN IL 60079-8305
                                          NASHVILLE TN 37219-2395




NORTHSTAR ANESTHESIA                      NATIONWIDE                              OHIO DEPARTMENT OF JOBS AND FAMILY
6225 NORTH STATE HWY 161   200            PO BOX 77210                            SERVICE
IRVING TX 75038-2241                      MINNEAPOLIS MN 55480-7200               ATTN DONN D ROSENBLUM
                                                                                  P O BOX 182404
                                                                                  COLUMBUS OHIO 43218-2404




FINVI                                     PATHOLOGY CONSULT OF S BROWARD          PAY READY
ATTN LAUREN MAZZA                         9581 PREMIER PKWY                       5811 MCFADDEN AVE
P O BOX 1                                 MIRAMAR FL 33025-3206                   HUNTINGTON BEACH CA 92649-1323
MUNCIE IN 47308-0001




PLASTIC SURGERY CENTER OF THE SOUTH       PLATTE RIVER MEDICAL CENTER             PATIENT ACCOUNT SERVICES LLC
120 VANN ST NE 150                        CORPORATE BILLING ACCOUNTS              12655 OLD SURREY PLACE
MARIETTA GA 30060-7358                    2801 PURCELL ST                         ROSWELL GA 30075-1067
                                          BRIGHTON CO 80601-3551
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PATIENT ACCOUNT SERVICES LLC             POPE LAND                                QUADIENT
1825 BARRETT LAKES BLVD NW               1701 BARRETT LAKES BLVD                  PO BOX 6813
STE 505                                  STE 120                                  CAROL STREAM IL 60197-6813
KENNESAW GA 30144-7570                   KENNESAW GA 30144-4583




QUENCH USA INC                           REACH CHIROPRACTIC                       RELIAS HEALTHCARE
PO BOX 735777                            501 ROBERTS CT STE 6                     201 WEST MAIN STREET
DALLAS TX 75373-5777                     KENNESAW GA 30144-4968                   TUPELO MS 38804-3917




RESTORE HAIR                             REALMCONNECT                             REVSPRING INC
1415 WEST 22 ST                          PO BOX 307031149                         26988 NETWORK PLACE
OAK BROOK IL 60523-2074                  CALHOUN GA 30703-1149                    CHICAGO IL 60673-1269




ROBERT M HIRSH                           MICHAEL D ROBL                           ROUNTREE LEITMAN KLEIN   GEER LLC
NORTON ROSE FULBRIGHT US LLP             ROBL LAW GROUP LLC                       2987 CLAIRMONT RD
1301 AVENUE OF THE AMERICAS              SUITE 250                                SUITE 350
NEW YORK NY 10019-6022                   3754 LAVISTA ROAD                        ATLANTA GA 30329-4435
                                         TUCKER GA 30084-5623




ROUNTREE LEITMAN KLEIN GEER LLC          SCHUMACHER GRP MEDICAL BILLING           SIERRA HIGHLAND HOA
2987 CLAIRMONT ROAD SUITE 350            12790 MERIT DRIVE SUITE 200              1465 NORTHSIDE DR SUITE 128
ATLANTA GEORGIA 30329-4435               DALLAS TX 75251-1276                     ATLANTA GA 30318-4220




SNYDER PHYSICAL THERAPY                  SOS COPIER LEASE                         SAMSON MCA LLC
OWNER BRANDEN SNYDER                     PO BOX 660831                            17 STATE STREET
39 PORTER ROAD SUITE 1                   DALLAS TX 75266-0831                     STE 630
TOWER CITY PA 17980-9457                                                          NEW YORK NY 10004-1749




STEPHEN WAYNE SATHER                     HENRY F SEWELL JR                        SHANNA M KAMINSKI
BARRON NEWBURGER PC                      LAW OFFICES OF HENRY F SEWELL JR LLC     PO BOX 247
7320 N MOPAC EXPWY SUITE 400             SUITE 555                                GRASS LAKE MI 49240-0247
AUSTIN TX 78731-2347                     2964 PEACHTREE ROAD NW
                                         ATLANTA GA 30305-4909




SHREDIT                                  SOLVEDIT                                 STAPLES BUSINESS ADVANTAGE THOMAS
5116 SOUTH ROYAL ATLANTA DRIVE           333 N DOBSON RD                          RIGGLEMA
TUCKER GA 30084-3052                     STE 5 138                                7 TECHNOLOGY CIRCLE
                                         CHANDLER AZ 85224-4412                   COLUMBIA SC 29203-9591




STERICYCLE                               TBF                                      GREGORY M TAUBE
28883 NETWORK PLACE                      460 FARADAY AVENUE                       NELSON MULLINS RILEY SCARBOROUGH LLP
CHICAGO IL 60673-1288                    JACKSON NJ 08527-5072                    SUITE 1700
                                                                                  201 17TH STREET NW
                                                                                  ATLANTA GA 30363-1099
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INTERNATIONAL
TECHNO BRAIN BPO ITES LIMITED            THE INTELITECH GROUP                     THE JD STUART LAW GROUP LLC
HERITAN HOUSE 2ND FLOOR                  4800 NW CAMAS MEADOWS DRIVE              1825 BARRETT LAKES BLVD NW
WOODLANS ROAD                            220                                      STE 505
NAIROBI KENYA 510                        CAMAS WA 98607-7698                      KENNESAW GA 30144-7570




THRESA LARAE WILSON                      UNITED AUTO CREDIT CORP                  U T PHYSICIANS
12655 OLD SURREY PLACE                   1071 CAMELBACK ST SUITE 100              ATTN OFFICE OF LEGAL AFFAIRS
ROSWELL GA 30075-1067                    NEWPORT BEACH CA 92660-3046              7000 FANNIN ST
                                                                                  SUITE 1460
                                                                                  HOUSTON TX 77030-5400




UTILIPRO                                 ULTIMATE CONTACTS                        UNITED STATES ATTORNEY
500 W LANIER AVE                         5345 TOWNE SQUARE DRIVE                  NORTHERN DISTRICT OF GEORGIA
STE 902                                  STE 165                                  75 TED TURNER DRIVE SW SUITE 600
FAYETTEVILLE GA 30214-7641               PLANO TX 75024-2463                      ATLANTA GA 30303-3309




UNITED STATES TRUSTEE                    VCC OWNER LLC                            VININGS FAMILY DENTISTRY
362 RICHARD RUSSELL FEDERAL BUILDING     PO BOX 935812                            2931 PACES FERRY RD SE
75 TED TURNER DRIVE SW                   ATLANTA GA 31193-5812                    ATLANTA GA 30339-3735
ATLANTA GA 30303-3315




SUSAN VERBONITZ                          WESTLAKE FINANCIAL SERVICES              WHOLISTIC PERSPECTIVE
1339 CHESTNUT STREET                     4751 WILSHIRE BLVD STE 100               615 W JOHNSON AVE
SUITE 500                                LOS ANGELES CA 90010-3847                CHESHIRE CT 06410-4531
PHILADELPHIA PA 19107-3503




WRITTEN DEPOSITION SERVICES              WEBBANK                                  WEBBANK
1755 WHITTINGTON PLACE SUITE 750         CO ROBL LAW GROUP LLC                    215 S STATE STREET
DALLAS TX 75234-1956                     3754 LAVISTA ROAD                        SUITE 1000
                                         SUITE 250                                SALT LAKE CITY UT 84111-2336
                                         TUCKER GA 30084-5623




WELLS FARGO                              WELLS FARGO BANK                         WILLIAM D WILSON
LITE CARD PAYMENT CENTER                 SMALL BUSINESS LENDING DIVISION          12655 OLD SURREY PLACE
POI BOX 77066 29                         PO BOX 29482 MAC S4101-08C               ROSWELL GA 30075-1067
MINNEAPOLIS MN 55480-7766                PHOENIX AZ 85038-9482




WILLIAM D WILSON JR                      WILZARA PROPERTY MANAGEMENT GROUP LLC    WINDSTREAM
12655 OLD SURREY PLACE                   12655 OLD SURREY PLACE                   PO BOX 9001013
ROSWELL GA 30075-1067                    ROSWELL GA 30075-1067                    LOUISVILLE KY 40290-1013




Y12 FEDERAL CREDIT UNION                 EOSCAR
PO BOX 2512                              DEPT 224501
OAK RIDGE TN 37831-2512                  PO BOX 55000
                                         DETROIT MI 48255-4971
Case 23-61742-bem           Doc 292    Filed 07/02/25 Entered 07/02/25 10:33:02             Desc Main      Case 23-61742-bem          Doc 292      Filed 07/02/25 Entered 07/02/25 10:33:02                  Desc Main
                                      Document      Page 1 of 9                                                                                   Document      Page 2 of 9



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      IT IS ORDERED as set forth below:
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      Date: July 2, 2025                                                                                    (2992? <3 A52 12;A63621 @@2A@ A< "2160.9 2/A '2@<9BA6<; ;0 1/. *;1B2 "2160.9 2/A
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                                                                        Barbara Ellis-Monro
                                                                   U.S. Bankruptcy Court Judge
                                                                                                            12;A63621@@2A@6;0<;;20A6<;D6A5A52@.92.;1/6116;4=?<02@@A.==2.?6;4A5.AA52.==?<C.9
     ________________________________________________________________
                                                                                                            <3A52/61=?<021B?2@0<9920A6C29FA52H4/!;9.0/>;0<I.@?2>B2@A216;A52"<A6<;6@6;A52/2@A

                                                                                                            6;A2?2@A@<3A522/A<?A52@A.A2.;10?216A<?@.;1.3A2?1B21296/2?.A6<;A52?2<;.;14<<1.;1

                                                                                                            @B336062;A0.B@2.==2.?6;4A52?23<?6A6@52?2/F $*##)'"#))

                                                                                                                           )523<?:.;1:.;;2?<3;<A602<3A5261%?<021B?2@.;1A5261%?<021B?2@
                                                                                                                                                                                                                                 Document




              %&%$%%$#&!%* &#%
                                                                                                                                                                                                                          Exhibit A




                                                                                                             2.?6;4@5.99/2.;152?2/F.?2.==?<C21.@@B336062;A.;1.12>B.A2;<A602#<<A52?<?3B?A52?
                #% #%#$%#%  #
                         %%'$ 
                                                                                                             ;<A6026;0<;;20A6<;D6A5A522;A?F<3A56@$?12?6@<?@5.99/2?2>B6?21
 #                   
                                  !%#
                                                                                                                           )5261%?<021B?2@D2?2=?<=<@21/FA52)?B@A226;4<<13.6A5D6A5A524<.9
 #%# &! 
                                  ,<09   
                                                                                                             <3 :.E6:6G6;4 A52 C.9B2 <3 A52 %<?A3<96<@ .;1 A52 12;A63621 @@2A@ 3<? A52 /2;236A <3 .99
          0-=9;             

       ##&% #+$&&% %(%                                          0?216A<?@<3A522@A.A2
                                                                                                                                                                                                                                             Page 15 of 22




       %#&$%($ %%$% #$% #%$ 
     $$%$!!# '!# &#$ '#%!# ! $                                                      *;1B25.@;24<A6.A21.;12;A2?216;A<.1236;6A6C2.@@2A=B?05.@2.4?22:2;AD6A5
     $&!*% )!$#&#$%#&!
                                                                                                         A52)?B@A22@2AA6;43<?A5A52A2?:@.;10<;16A6<;@=B?@B.;AA<D5605*;1B2=?<=<@2@A<.0>B6?2

           )56@:.AA2?6@/23<?2A52<B?A<;A52#'#"#%('#%','# &&'& %" %      A5212;A63621@@2A@A52H$,602;00708=I.;1A<0<;@B::.A2A52A?.;@.0A6<;@0<;A2:=9.A21

 #"& !&" "(!%"& '# &' &%#(%&'&$''#(                A52?2/FA5.A0<;@A6ABA2@.;6;6A6.9<332?A5.AD699@2?C2.@.H39<<?I3<?3B?A52?/6116;4

     #"&%$$%#) # %($ " +$"&!(%&!"'" '##%'""!'                        #$, )'$' ) ( '- $''  * # '

 #'A52H9=498I A5.AD.@36921/F(?24<?F.F@.@5.=A2?)?B@A22H%;><=00I<?              ))
                                                                                                                                                                                                                          Doc 293 Filed 07/03/25 Entered 07/03/25 19:02:55




 
     .=6A.96G21A2?:@;<A1236;2152?26;@5.995.C2A52:2.;6;4@.@0?6/21A<@B05A2?:@6;A52"<A6<;

                                                                                                                                                                
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Case 23-61742-bem        Doc 292      Filed 07/02/25 Entered 07/02/25 10:33:02                  Desc Main        Case 23-61742-bem    Doc 292      Filed 07/02/25 Entered 07/02/25 10:33:02                 Desc Main
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              )52 "<A6<; 6@ 4?.;A21 A< A52 2EA2;A @2A 3<?A5 6; A56@ $?12? )52 3<99<D6;4 H4/                           <3 A52 *( )?B@A22   '605.?1 'B@@299 914  7HG 7XUQHU 'U
                                                                                                                                         (,A9.;A.2<?46.         6;2.050.@2@<.@A</2?2026C21;<A9.A2?
 !;9.0/>;0<I.?252?2/F.==?<C21 .;1@5.99/2B@216;0<;;20A6<;D6A5A52=?<=<@21@.92<3A52                                         A5.;A52$C2?/612.196;2

 12;A63621@@2A@                                                                                                         / B0A6<;;A522C2;AA52)?B@A22A6:29F?2026C2@.0<;3<?:6;4;6A6.9$C2?/61
                                                                                                                                3?<:.=?<@=20A6C2=B?05.@2?.@12@0?6/21./<C2.H">,64140/4//0;IA52;
                . ;6A6.9$C2?/61;FA56?1=.?AF<A52?A5.;*;1B2A5.A6@6;A2?2@A216;.0>B6?6;4                          A52)?B@A22D6990<;1B0A.;B0A6<;D6A5?2@=20AA<A52@.92<3A5212;A63621
                                                                                                                                                                                                                                                   Case 23-61742-bem




                   A5212;A63621@@2A@:B@A@B/:6A.;H;6A6.9$C2?/61I6;0<;3<?:.;02D6A5A52                               @@2A@<;>6B   -02488482,=,769.,6=470,==309114.0<91
                   61%?<021B?2@/F;<A9.A2?A5.; =:9<0.9A6:26;A9.;A.2<?46.<;                                  .9>8<06 19; =30 %;><=00 ,@ 114.0< 91 08;B  $0@066 ; 
                    B9F       A52H ?0;-4/0,/6480I;F@B05;6A6.9$C2?/61:B@A                                    >.530,/08=;0  !0,.3=;00#9,/($>4=0 =6,8=,  
                         6 <;A.6;.@64;211236;6A6C2.@@2A=B?05.@2.4?22:2;AA<42A52?D6A5.                               AA;2;?F(2D299 ?@><?.A@B05<A52?9<0.A6<;.@:.F/212@64;.A21
                            0<=F<3A52@64;21.4?22:2;AA5.A6@:.?821A<@5<D05.;42@3?<:A52                                /FA52)?B@A22;<?12?A<=.?A606=.A26;A52B0A6<;2.05=?<@=20A6C2=B?05.@2?
                            (.92 4?22:2;A D6A5 *;1B2 D6A5 .A . :6;6:B: A52 3<99<D6;4                               @5.99/2?2>B6?21A<0<:=9FD6A5A52?2>B6?2:2;A@<3A5261%?<021B?2@.;1A<
                            ?2>B6?2:2;A@ 5.C6;4@B/@A.;A6.99F612;A60.9A2?:@.;10<;16A6<;@.@                            @B/:6A.;;6A6.9$C2?/61A5.A6@A6:29F.;1A5.A0<:=962@6;.99?2@=20A@D6A5A52
                            A52 (.92 4?22:2;A D6A5 *;1B2 2E02=A D6A5 56452? .;1 /2AA2?                               61%?<021B?2@$?12?AA52B0A6<;&B.9636216112?@.;1*;1B26A/26;4
                            0<;@612?.A6<;   0<;A.6;6;4 A2?:@ .;1 0<;16A6<;@ <A52?D6@2 ;< 92@@                        B;12?@A<<1A5.A*;1B2@5.99/2122:21A</2.&B.9636216112?:.F@B/:6A
                            3.C<?./92 A< A52 @A.A2 A5.; A52 A2?:@ .;1 0<;16A6<;@ 6; A52 (.92                        @B002@@6C2/61@6;0.@56;0?2:2;A@<3.A92.@A$;2B;1?21)5<B@.;1<99.?@
                            4?22:2;A =?<C6121 A5.A ;< ;6A6.9 $C2?/61 @5.99 =?<C612 3<? A52                            4?2.A2?A5.;A52=?6<?/613<?A52=B?05.@2<3A5212;A63621@@2A@B;A69
                            =.F:2;A A< A52 <C2?/6112? <3 .;F /?2.8B= 322 A<==6;4 322 2E=2;@2                        A52?26@<;9F<;2<332?A5.AA52)?B@A2212A2?:6;26;A522E2?06@2<3A526?@<92
                            ?26:/B?@2:2;A <? <A52? @6:69.? .??.;42:2;A   =?<C612 3<?                                 16@0?2A6<; @B/720A A< <B?A .==?<C.9 6@ A52 56452@A <? /2@A <332? 3<? A52
                            0<;@612?.A6<;A<A52)?B@A226;.;.:<B;A2>B.9A<<?4?2.A2?A5.;A52                              12;A63621@@2A@A52H!;0?,464824/C,52;/6116;4.AA52B0A6<;*;1B2
                                                                                                                                                                                                                                  Document




                            @B: <3 . A52 0<;@612?.A6<; =.F./92 /F *;1B2 B;12? A52 (.92                              @5.99?2026C2.0.@5H0?216AI6;.;.:<B;A2>B.9A<A52@B:<3A52:.E6:B:
                            4?22:2;A=9B@/.;.116A6<;.9.:<B;A<3  6;0.@5;<A                                 E=2;@2'26:/B?@2:2;A=9B@A52?2.8B=2299/6116;43<?A5212;A63621
                            /2@B/720AA<.;F.36;.;06;40<;A6;42;0F/0<;A6;42;0F?29.A6;4A<                            @@2A@D699/20<;09B121.AA52B0A6<;.;1A52?2D699/2;<3B?A52?/6116;4.A
                            A520<:=92A6<;<3B;=2?3<?:211B2169642;0200<;A6;42;0F?29.A6;4                               A52(.922.?6;43;<0<;3<?:6;4;6A6.9$C2?/613?<:.&B.9636216112?@5.99
                            A<A52.==?<C.9<3A52<C2?/6112?J@/<.?1<316?20A<?@<?<A52?6;A2?;.9                            5.C2/22;?2026C21.A<?=?6<?A<A52$C2?/612.196;2A52B0A6<;D699;<A/2
                            .==?<C.9@ <? 0<;@2;A@ <? 1 .;F 0<;16A6<;@ =?20212;A A< A52                              5291*;1B2@5.99/212@64;.A21.@A5256452@A.;1/2@A/61.;1A52(.922.?6;4
                            <C2?/6112?J@ </964.A6<; A< =B?05.@2 A52 12;A63621 @@2A@ <A52? A5.;                        D699=?<0221D6A5?2@=20AA<A52(.924?22:2;AD6A5*;1B2<;.;2E=216A21
                            A5<@26;09B1216;A52(.924?22:2;AD6A5*;1B2.;1=?<C612A5.A                               /.@6@;12A2?:6;6;4A52%?2C.696;4610<;@612?.A6<;D699/246C2;A<.:<;4
                            A52<C2?/6112?@5.99=B?05.@2.99<3A5212;A63621@@2A@                                         <A52? A56;4@ 6 A52 ;B:/2? AF=2 .;1 ;.AB?2 <3 .;F 05.;42@ A< A52 (.92
                        66 ;09B12 . 0.@562?@J <? 02?A63621 05208 .@ . 12=<@6A 6; A52 .44?24.A2                     4?22:2;AD6A5*;1B2?2>B2@A21/F2.05/6112?66A522EA2;AA<D5605@B05
                            .:<B;A<3   =.F./92A<.;6;12=2;12;A2@0?<D.42;AA</2                                      :<16360.A6<;@.?296829FA<129.F09<@6;4<3A52@.92<3A5212;A63621@@2A@.;1
                                                                                                                                                                                                                                              Page 16 of 22




                            12@64;.A21/FA52(2992?6A/26;4B;12?@A<<1A5.A12=<@6A@:.F.9@</2                             A520<@AA<A52)?B@A22<3@B05:<16360.A6<;@<?129.F666A52A<A.90<;@612?.A6<;
                            @2;A/FD6?2A?.;@32?<36::216.A29F.C.69./923B;1@                                              A</2?2026C21/FA52(2992?6CA529682965<<1<3A52/6112?J@./696AFA<09<@2.
                      666 )<A522EA2;A;<A=?2C6<B@9F=?<C6121A<A52)?B@A22/2.00<:=.;621                                 A?.;@.0A6<;.;1A52A6:6;4A52?2<3CA52;2A/2;236AA<A52@A.A2.;1C6A52
                            /F2C612;02@.A6@3.0A<?FA<A52)?B@A22A5.AA52%B?05.@2?0.;0<:=92A2                             .:<B;A <3 A52 /6112?J@ 2E=2?62;02 .0>B6?6;4 <D;6;4 ?25./696A.A6;4 .;1
                            A52A?.;@.0A6<;                                                                                    :.;.46;4=?<720A@A5.A.?2@B/@A.;A6.99F@6:69.?A<A52%<?A3<96<@AA52B0A6<;
                       6C '2:.6; <=2; .;1 6??2C<0./92 B;A69 <;2 5B;1?21   1.F@ .3A2? A52                           *;1B2@5.995.C2A52?645AA<6@B/:6A3B?A52?/61@.9<;4D6A5.:.?8B=<3A52
                            2;A?F <3 .; <?12? /F A52 <B?A .==?<C6;4 . 1236;6A6C2 .4?22:2;A                           (.92 4?22:2;A D6A5 *;1B2 .;1 66 .A .;F A6:2 ?2>B2@A A5.A A52 )?B@A22
                            =?<C616;43<?A52@.92<3A5212;A63621@@2A@.;1                                                .;;<B;02@B/720AA<.;F=<A2;A6.9;2D/61@A52A52;0B??2;A%?2C.696;461.;1
                        C 2 @B/:6AA21 A<   0<B;@29 A< A52 )?B@A22 !.D $33602@ <3 2;?F                       A< A52 2EA2;A *;1B2 ?2>B2@A@ B@2 ?2.@<;./92 233<?A@ A< 09.?63F .;F .;1 .99
                            (2D299 ? !! B0852.1 2;A?2  %2.05A?22 '<.1 #, (B6A2                              >B2@A6<;@ *;1B2 :.F5.C2 ?24.?16;4A52 )?B@A22J .;;<B;02:2;A <3 A52 A52;
                             A9.;A.             AA; 2;?F  (2D299 ? @>                             0B??2;A %?2C.696;461 $;9FA52 =2?@<;@ D5< @B/:6AA21 ;6A6.9 $C2?/61@ .;1
                                                                                                                                                                                                                           Doc 293 Filed 07/03/25 Entered 07/03/25 19:02:55




                            5@2D299@2D29936?:0<:   0<B;@29 A< *;1B2 (5225.; %56;;2F                               *;1B2 :.F=.?A606=.A2 6; A52 B0A6<; 3A2? A52 B0A6<; 5.@ 0<;09B121 A52
                            .@@?22;%         9:(A?22A A59<<?".;052@A2?#                                 )?B@A22 @5.99 =?2@2;A A52 %?2C.696;4 61 A< A52 <B?A 3<? 0<;@612?.A6<; .;1
                            AA;5?6@A<=52?".;1<;00.;1<;@5225.;0<:.;1 $33602                                   .==?<C.9.AA52(.922.?6;4



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            F (.922.?6;4%30$,600,;482@466-0.98/>.=0/98>6B  ,=                                    $/720A6<;@ 63 .;F A< .==?<C.9 <3 .;F %?2C.696;4 61 <? A< .==?<C.9 <3 .;F
               D769.,6=472489>;=;997  ,==30&84=0/$=,=0<,85;>:=.B9>;=
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                                                  Exhibit C
                                                  Document    Page 20 of 22




  NAME OF PARTY / ACCOUNT REFERENCE                                    DECLARATION OF MAILING
                                                                       CERTIFICATE OF SERVICE
  ARC MANAGEMENT GROUP, LLC,



                                                                       23-61742



 On 7/3/2025, I did cause a copy of the following documents, described below,
 ORDER (A) AUTHORIZING AND SCHEDULING AN AUCTION AT WHICH THE TRUSTEE WILL SOLICIT THE HIGHEST OR
 BEST BID FOR THE SALE OF ASSETS; AND (B) APPROVING BID PROCEDURES GOVERNING THE PROPOSED SALE
 INCLUDING PAYMENT OF EXPENSE REIMBURSEMENT AND BREAKUP FEE ECF Docket Reference No. 292




to be served for delivery by the United States Postal Service, via First Class United States Mail, First Class, postage prepaid,
with sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.

Parties who were mailed documents via certified mail, return receipt requested, are those listed as certified on the attached
mailing matrix.
I caused these documents to be served by utilizing the services of CertificateofService.com. A copy of the declaration of
service is attached hereto and incorporated as if fully set forth herein.



 DATED: 7/3/2025                                                     /s/ Henry F. Sewell, Jr.
                                                                     Henry F. Sewell, Jr.
                                                                     LAW OFFICES OF HENRY F. SEWELL JR., LLC
                                                                     2964 Peachtree Rd NW, Ste 555
                                                                     Atlanta, GA 30305
                                                                     404 926 0053




This is a receipt for mailing services and a normal and customary business record of the business transaction between LAW OFFICES OF HENRY
F. SEWELL JR., LLC and CertificateofService.com, an authorized Third Party Notice Provider by the Administrator of the United States Bankruptcy
Courts.
          Case 23-61742-bem Doc 293 Filed 07/03/25 Entered 07/03/25 19:02:55                                         Desc Main
     RECEIPT FOR DIRECT MAILING:   Document    Page 21 of 22

                                                                        RECEIPT FOR DIRECT MAILING SERVICE
   LAW OFFICES OF HENRY F. SEWELL JR., LLC
                                                                        23-61742
   Henry F. Sewell, Jr.
   2964 Peachtree Rd NW, Ste 555
   Atlanta, GA 30305

    On 7/3/2025, a copy of the following documents, described below,

    Mailing List: SEE ATTACHED LIST

    Documents Served:

    ORDER (A) AUTHORIZING AND SCHEDULING AN AUCTION AT WHICH THE TRUSTEE WILL SOLICIT THE HIGHEST
    OR BEST BID FOR THE SALE OF ASSETS; AND (B) APPROVING BID PROCEDURES GOVERNING THE PROPOSED
    SALE INCLUDING PAYMENT OF EXPENSE REIMBURSEMENT AND BREAKUP FEE ECF Docket Reference No. 292




    were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
    sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated
    as if fully set forth herein.

    Documents served via Certified Mail, Return Receipt Requested are denoted on the attached mailing list, attched hereto
    and incorporated as if fully set forth herein.

    The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
    referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Certificate of Service and
    that it is true and correct to the best of my knowledge, information, and belief.


          DATED: 7/3/2025


                                                        Miles Wood
                                                        CertificateofService.com for
                                                        Henry F. Sewell, Jr.
                                                        LAW OFFICES OF HENRY F. SEWELL JR., LLC
                                                        2964 Peachtree Rd NW, Ste 555
                                                        Atlanta, GA 30305


This is a receipt for mailing services and a normal and customary business record of the business transaction between LAW OFFICES OF
HENRY F. SEWELL JR., LLC and CertificateofService.com, an authorized Third Party Notice Provider by the Administrator of the United States
Bankruptcy Courts.
USPS FIRSTCase
           CLASS23-61742-bem       Doc 293 Filed 07/03/25 Entered 07/03/25 19:02:55 Desc Main
                 MAILING RECIPIENTS:
Parties with names struck through or labeledDocument
                                             CM/ECF SERVICE Page  22 served
                                                            were not  of 22 via First Class USPS Mail Service.

SCHUMACHER                               US DEPT. OF HEALTH AND HUMAN SERVICES    MEDICARE CONTACT OPERATIONS CENTER
C/O BRANDON K. STELLY, J.D.              200 INDEPENDENCE AVE., SW                PO BOX 1270
SVP OF LITIGATION & INTERNAL COUNSEL     WASHINGTON, DC 20201                     LAWRENCE, KS 66044
200 CORPORATE BOULEVARD
LAFAYETTE, LOUISIANA 70508




CENTERS FOR MEDICARE AND MEDICAID        THOMAS C. WOOLDRIDGE                     UNDUE MEDICAL DEBT
SERVICES                                 COUNSEL FOR BILL WILSON                  C/O SHEEHAN PHINNEY BASS & GREEN PA
7500 SECURITY BOULEVARD                  GEORGIA FEDERAL DEFENSE                  ATTN: CHRISTOPHER M. CANDON
BALTIMORE, MD 21244-1850                 1201 WEST PEACHTREE STREET NE, STE.      1000 ELM STREET, 17TH FLOOR
                                         2300                                     MANCHESTER, NH 03101
                                         ATLANTA, GA 30309




ATTORNEY GENERAL’S OFFICE                CHRISTOPHER CANDON                       THEODORE HERTZBERG, ESQ.
40 CAPITAL SQUARE, SW                    SHEEHAN PHINNEY                          UNITED STATES ATTORNEY
ATLANTA, GA 30345-1300                   COUNSEL FOR BUYER                        RICHARD B. RUSSELL FEDERAL BUILDING
                                         28 STATE STREET                          75 TED TURNER DR. SW
                                         BOSTON, MA 02109                         SUITE 600
                                                                                  ATLANTA, GA 30303-3309
